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                                  UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF PENNSYLVANIA
SHIRLEY DORSHIMER and                                               :
ROBERT DORSHIMER
                                                                    :
                    Plaintiffs                                           CIVIL ACTION NO. 3:13-0553
                                                                    :
                    v
                                                                    :            (JUDGE MANNION)
ZONAR SYSTEMS, INC., and
VELOCITI, INC.                                                      :
                    Defendants                                      :


                                                          ORDER
          For the reasons stated in the court’s memorandum issued this same
          day, IT IS HEREBY ORDERED THAT:
          1.        Zonar’s motion in limine, (Doc. 58), is GRANTED with regards to
                    Schwatrz’s opinions that a contract existed between Zonar and
                    Velociti or any other parties and, that an agency relationship
                    existed between Zonar and Velociti or any other parties.
          2.        Plaintiffs are precluded from presenting any opinion from
                    Schwartz regarding the above stated issues.




                                                                    s/ Malachy E. Mannion
                                                                    MALACHY E. MANNION
                                                                    United States District Judge
Dated: August 8, 2016
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